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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §           Case No. 4:07cr42
                                                   §           (Judge Schell)
 ADAM RAY WATTS (34)                               §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 16, 2012, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Ernest

 Gonzalez.

        On December 18, 2007, Defendant was sentenced by the Honorable Richard A. Schell to

 sixty-five (65) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Possess with Intent to Distribute Heroin. On September 16, 2010, Defendant completed

 his period of imprisonment and began service of his supervised term.

        On September 11, 2012, the U.S. Probation Officer executed a Second Amended Petition for

 Warrant for Offender Under Supervision. The petition asserted that Defendant violated several

 mandatory and standard conditions. Violation allegations one, two, five, seven, eight, and nine were

 dismissed by the Government. The petition also alleged violation of the following additional

 mandatory conditions: (1) the defendant shall not commit another federal, state, or local crime

 (Allegation Three and Four); and (2) the defendant shall refrain from any unlawful use of a

 controlled substance (Allegation Six). The petition alleged a violation of the following special

 condition: the defendant shall participate in a program of testing and treatment for drug abuse, under
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 the guidance and direction of the U.S. Probation Officer, until such time as the defendant is released

 from the program by the probation officer (Allegation 10).

        The petition alleges that Defendant committed the following acts with regard to the

 remaining violations: (1) On February 18, 2012, Defendant was arrested by Dallas Police

 Department for the misdemeanor offense of Theft $50-$500 (Shoplifting). This criminal charge was

 assigned Cause Number MB 1252851-M. This charge was adjudicated in the Dallas County

 Criminal Court AP2, on February 27, 2012, as the Defendant received thirty (30) days time served;

 (2) On March 23, 2012, Defendant was arrested by Plano Police Department for the offense of

 Possession of Drug Paraphernalia, and received credit for time served on March 24, 2012; (3)

 Defendant submitted urine specimens on March 8, 2012, which tested positive for morphine

 (extended opiates), and on April 9, 2012, for methamphetamine; and (4) On April 20, 2012, April

 23, 2012, May 4, 2012, May 11, 2012, May 15, 2012, and May 25, 2012, Defendant failed to report

 for drug testing as instructed at Bob Alterman’s Office, Plano, Texas.

        Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

 violations.

                                      RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release.

 Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

 to the custody of the Bureau of Prisons to be imprisoned for a term of eighteen (18) months with

 thirty-six (36) months of supervised release to follow. It is also recommended that Defendant be

 housed in the Bureau of Prisons, Seagoville Unit. The Court further recommends the following

 conditions:

        Within 72 hours of release from the custody of the Bureau of Prisons, the defendant shall
        report in person to the probation office in the district to which the defendant is released.
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            While on supervised release, the defendant shall not commit another federal, state, or local
            crime, and shall comply with the standard conditions that have been adopted by the Court,
            and shall comply with the following additional conditions:

            The defendant shall provide the probation officer with access to any requested financial
            information for purposes of monitoring fine payments.

            The defendant shall be required to submit to a drug test within 15 days of release on
            supervised release, and at least two periodic drug tests thereafter, as directed by the probation
            officer.

            The defendant shall participate in a program of testing and treatment for drug abuse, under
            the guidance and direction of the U.S. Probation Office, until such time as the defendant is
.           released from the program by the probation officer.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
           SIGNED this 19th day of November, 2012.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
